      Case 19-13382-elf       Doc 14 Filed 05/31/19 Entered 06/01/19 01:08:18                Desc Imaged
                                    Certificate of Notice Page 1 of 4
                                     United States Bankruptcy Court
                                   Eastern District of Pennsylvania
In re:                                                                                 Case No. 19-13382-elf
Bringkop Ariyamitr                                                                     Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0313-2          User: dlv                    Page 1 of 2                   Date Rcvd: May 29, 2019
                              Form ID: 309A                Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 31, 2019.
db             +Bringkop Ariyamitr,    13 Douglas Street,     Ambler, PA 19002-4941
14332152       +AMERICAN EXPRESS CORRESPONDENCE ADDRESS,      200 VESEY ST.,    BROOKFIELD PLACE, 50TH FLOOR,
                 NEW YORK, NY 10285-1000
14332153        CARRINGTON MORTGAGE SERVICE,     P.,O. BOX 79001,    PHOENIX, AZ 85062-9001
14332154       +CARRINGTON MORTGAGE SERVICES, LLC,     1600 SOUTH DOUGLASS ROAD,     SUITE 110,
                 ANAHEIM, CA 92806-5951
14332156       +CHASE,    P.O. BOX 1423,    CHARLOTTE, NC 28201-1423
14332172        Equifax Credit Information Services, Inc,      P.O. Box 740256,    Atlanta, GA 30374-0256
14332173       +Experian,    P.O. Box 9701,    Allen, TX 75013-9701
14332174        Experian Information Systems,     Attn: Dispute Department,     P.O. Box 2002,
                 Allen, TX 75013-2002
14332179        H.A. Berkheimer Tax Administrator,     Bankruptcy Notices,     50 North 7th Street,
                 Bangor, PA 18013-1798
14332175       +Innovis Data Solutions,     250 E. Town St.,    Columbus, OH 43215-4631
14332160       +KML LAW GROUP,    701 MARKET STREET,    SUITE 5000,    PHILADELPHIA, PA 19106-1541
14332163       +POWERS KIRN LLC,    8 NESHAMINY INTERPLEX,     SUITE 215,    TREVOSE, PA 19053-6980
14332164       +SPECIALIZED LOAN SERVICING LLC,     8742 LUCENT BLVD.,    SUITE 300,
                 HIHGLAND RANCH, CO 80129-2386
14332165        SPECIALIZED LOAN SERVICING LLC,     P.O. BOX 63607,    LITTLETON, CO 80163-6007
14332178       +Transunion Corporation,     2 Baldwinm Place,    P.O. Box 1000,    Chester, PA 19016-1000
14332168       +VANGUARD,    200 DRYDEN ROAD,    DRESHER, PA 19025-1044

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mwglaw@msn.com May 30 2019 02:50:08        MICHAEL W. GALLAGHER,
                 401 West Johnson Highway,    Suite 4,    East Norriton, PA 19401
tr              EDI: BTPDERSHAW.COM May 30 2019 06:33:00       TERRY P. DERSHAW,    Dershaw Law Offices,
                 P.O. Box 556,   Warminster, PA 18974-0632
smg             E-mail/Text: megan.harper@phila.gov May 30 2019 02:50:53        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 30 2019 02:50:30
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov May 30 2019 02:50:46         U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov May 30 2019 02:50:38         United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,     Suite 500,   Philadelphia, PA 19107-4405
14332155       +EDI: CHASE.COM May 30 2019 06:34:00       CHASE BANK,    270 PARK AVENUE,
                 NEW YORK, NY 10017-2070
14332158        EDI: DISCOVER.COM May 30 2019 06:33:00       DISCOVER CARD,    P.O. BOX 6011,     DOVER, DE 19903
14332157        EDI: DISCOVER.COM May 30 2019 06:33:00       DISCOVER BANK,    12 READS WAY,
                 NEW CASTLE, DE 19720
14332159        EDI: IRS.COM May 30 2019 06:34:00      INTERNAL REVENUE SERVICE,     FRESNO, CA 93888-0419
14332161        EDI: TSYS2.COM May 30 2019 06:33:00       MACY’S AMERICAN EXPRESS,    P.O. BOX 8113,
                 MASON, OH 45040-8113
14332162        EDI: TSYS2.COM May 30 2019 06:33:00       MACYS,   P.O. BOX 183083,     COLUMBUS, OH 43218-3083
14332177        E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 30 2019 02:50:29        PA Department Of Revenue,
                 Attn: Bankruptcy Division,    P.O. Box 280946,    Harrisburg, PA 17128-0946
14332166       +EDI: STF1.COM May 30 2019 06:34:00       SUNTRUST BANK,    303 PEACHTREE STREET N.E.,
                 ATLANTA, GA 30308-3201
14332167       +EDI: STF1.COM May 30 2019 06:34:00       SUNTRUST CONSUMER LOANS,    P.O. BOX 791144,
                 BALTIMORE, MD 21279-1144
14332169       +EDI: WFFC.COM May 30 2019 06:33:00       WELLS FARGO,    420 MONTGOMERY STREET,
                 SAN FRANCISCO, CA 94104-1298
14332170        EDI: WFFC.COM May 30 2019 06:33:00       WELLS FARGO,    P.O. BOX 5119,
                 SIOUX FALLS, SD 57117-5119
14332171       +E-mail/Text: Bankruptcy@wsfsbank.com May 30 2019 02:51:12        WILMINGTON SAVINGS FUND SOCIETY,
                 500 DELAWARE AVENUE,    WILMINGTON, DE 19801-7405
                                                                                                TOTAL: 18

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14332176*        Internal Revenue Service,   Centralized Insolvency Operation,    P.O. Box 7346,
                  Philadelphia, PA 19101-7346
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309A                      Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 31, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 29, 2019 at the address(es) listed below:
              JILL MANUEL-COUGHLIN    on behalf of Creditor   WILMINGTON SAVINGS FUND SOCIETY FSB ET SEQ.
               jill@pkallc.com,
               chris.amann@pkallc.com;nick.bracey@pkallc.com;samantha.gonzalez@pkallc.com;harry.reese@pkallc.com
               ;mary.raynor-paul@pkallc.com;amanda.rauer@pkallc.com
              MICHAEL W. GALLAGHER   on behalf of Debtor Bringkop Ariyamitr mwglaw@msn.com,
               mwglaw1@verizon.net
              TERRY P. DERSHAW   td@ix.netcom.com, PA66@ecfcbis.com;7trustee@gmail.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
                                                                                            TOTAL: 4
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Information to identify the case:
Debtor 1              Bringkop Ariyamitr                                                Social Security number or ITIN        xxx−xx−4600
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Pennsylvania
                                                                                        Date case filed for chapter 7 5/28/19
Case number:          19−13382−elf


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15
**Debtor's Photo ID & Social Security Card Must Be Presented at 341 Hearing**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Bringkop Ariyamitr

2.      All other names used in the
        last 8 years

3.     Address                               13 Douglas Street
                                             Ambler, PA 19002

4.     Debtor's attorney                     MICHAEL W. GALLAGHER                                   Contact phone (484)679−1488
                                             401 West Johnson Highway
       Name and address                      Suite 4                                                Email: mwglaw@msn.com
                                             East Norriton, PA 19401

5.     Bankruptcy trustee                    TERRY P. DERSHAW                                       Contact phone (484) 897−0341
                                             Dershaw Law Offices
       Name and address                      P.O. Box 556                                           Email: td@ix.netcom.com
                                             Warminster, PA 18974−0632
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Bringkop Ariyamitr                                                                                             Case number 19−13382−elf


6. Bankruptcy clerk's office                    900 Market Street                                            Hours open:
                                                Suite 400                                                    Philadelphia Office −− 8:30 A.M. to
    Documents in this case may be filed at this Philadelphia, PA 19107                                       5:00 P.M Reading Office −− 8:00
    address. You may inspect all records filed                                                               A.M. to 4:30 P.M.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone (215)408−2800

                                                                                                             Date: 5/29/19


7. Meeting of creditors                          July 3, 2019 at 09:30 AM                                    Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              900 Market Street, Suite 304A,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Philadelphia, PA 19107
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 9/1/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
